                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION


                                               )
 UBIQUITY, INC.,                               )
                                               )
                   Plaintiff,                               Civil Action No. 1:22-CV-00353
                                               )
 v.                                            )
                                               )
 BRIAN KREBS               and    KREBS     ON )
 SECURITY, LLC,                                )
                                               )
                   Defendants.


 DECLARATION IN SUPPORT OF APPLICATION OF JAY MARSHALL WOLMAN
  TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D)

I, Jay Marshall Wolman, supplement my application to qualify as a foreign attorney as follows:

          1.      I am an attorney with the law firm of Randazza Legal Group, counsel for Brian

      Krebs and Krebs on Security, LLC, in the above-captioned action. I submit this Declaration in

      support of the Application pursuant to Local Civil Rule 83.1(D) for my pro hac vice admission

      to the bar of this Court.

      2. My full name is Jay Marshall Wolman.

      3. My office address and telephone number are as follows:

                  Randazza Legal Group, PLLC
                  100 Pearl Street, 14th Floor
                  Hartford, CT 06103
                  Telephone: 702-420-2001 ext. 18.

          4.      I am admitted to the State Bars of Massachusetts, Connecticut, New York, and the

      District of Columbia, and a member of the bars of the Supreme Court of the United States, the

      U.S. Courts of Appeals for the First, Second, Fourth, Fifth, Sixth, Ninth, Tenth, Eleventh, and

      D.C. Circuits, and the United States District Court for the District of Massachusetts, District



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of Connecticut, District of Columbia, and the Northern, Eastern, Western, and Southern

Districts of New York, and I am qualified and licensed to practice before the same.

   5.         I fully meet the requirements of Local Civil Rule 83.1(D) in that the rules of the

United States District Court for the District of Connecticut, the district in which I maintain an

office, extends a similar privilege of practicing pro hac vice to members of the bar of this

Court; and I will be accompanied by a member of the bar of this Court in all appearances before

this Court.

   6.         The Court’s form, however, adds the requirement that I state that “I have not been

reprimanded in any court nor has there been any action in any court pertaining to my conduct

or fitness as a member of the bar.” I have modified that form as I have been reprimanded by a

court.

   7.         Specifically, a reprimand was issued by the trial court in the matter of Lafferty v.

Jones, Case No. UWY-CV-XX-XXXXXXX-S, which is consolidated with the matters of Sherlach

v. Jones, Case No. UWY-CV-XX-XXXXXXX-S and Sherlach v. Jones, Case No. UWY-CV-18-

6046438-S. I was counsel for certain defendants in that matter.

   8.         On September 17, 2021, the plaintiffs in that action took the remote deposition of

a former employee of one of my clients. I participated and cross-examined the witness at that

deposition via Zoom.

   9.         During the course of the deposition, I asked the witness to search his smartphone

for certain documents I believed might be responsive to the subpoena served on him by the

plaintiffs. A dispute over the obligation of the witness to conduct the search was brought to

the Court, which ruled, on an apparent issue of first impression in Connecticut, that the witness

was not so obligated.




                                              -2-
   10.      Subsequently, sua sponte, on October 7, 2021, the Connecticut trial court issued an

order to show cause regarding potential discipline or sanction.

   11.      After hearings and briefing, on January 28, 2022, the Connecticut trial court issued

its memorandum of decision, a copy of which is attached as Exhibit 1. The decision set forth

that the only rules violated were Rules 3.5(4) (engaging in conduct intended to disrupt

proceedings) and 4.3 (dealing with unrepresented persons), not any of the others it had

previously considered. The Connecticut court thereupon issued me a formal reprimand.

   12.      No appeal was taken of this order and all courts and tribunals to which I am

admitted to practice were put on notice.

13. Subsequently, the following reciprocal proceedings occurred:

            a.      U.S. District Court for the Western District of New York: In the Matter of

         Jay M. Wolman, an Attorney Admitted to Practice Before this Court, Order of February

         10, 2022, imposing a reciprocal reprimand. No application to set aside the Order filed

         and no further action was taken.

            b.      Supreme Court of the United States:           Letter of February 8, 2022,

         acknowledging receipt of notice, with admission file for SCOTUS Bar #256008 duly

         appended, deeming the notice as properly filed with no further action at this time.

            c.      U.S. Patent and Trademark Office:           Letter of February 9, 2022,

         acknowledging receipt of notice and advising that it would be referred to a staff

         attorney in the Office of Enrollment and Discipline. A conversation with staff counsel

         on March 2, 2022, occurred identifying the trademark prosecutions in which I had

         appeared. No further action has been taken.




                                             -3-
              d.     U.S. District Court for the District of Nevada: In re Jay Marshall Wolman

          (Wynn v. Bloom), Case No. 2:18-cv-00609, Notice to the Presiding Judge (Feb. 22,

          2022) by the Chief Judge ofreceipt of the notice, deferring to the pressing judge of the

          matter (in which I appear pro hac vice), as to whether any disciplinary action should be

          taken. Order issued March I 0, 2022, that no additional disciplinary action is warranted.

              e.     Grievance Committee, Tenth Judicial District; Appellate Division: Second

          Judicial Department, State of New York: Letter sent on February 28, 2022, File No.

          T-222-22, seeking an affidavit explaining the circumstances of the reprimand with

          questionnaire. A timely response was provided and no finther actions have been taken.

              f.     Commonwealth of Massachusetts: BBO File No. Cl-22-00272779, Letter

          of February 8, 2022, from Office of Bar Counsel, Board of Bar Overseers of the

          Supreme Judicial Court, acknowledging receipt of the notice, advising intent to file the

          matter with the Clerk of the Supreme Judicial Court of Massachusetts, with such filing

          to be docketed as a reprimand in another jurisdiction. No objection filed.

              g.     Other courts have acknowledged receipt of notice of the Com1ecticut

          discipline, but have taken no action.

          I declare under penalty of perjury that the foregoing is true and

correct. Executed at Hartford, Connecticuton this 10th day of May, 2022.




                                               Y,M. Wolman
                                                 dazzaLegal Group (CT Juris No. 433791)
                                             100 Pearl Street, 14th Floor
                                             Hartford, CT 06103
                                             Telephone: 978.801.1776
                                             ecf@randazza.com



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       Exhibit 1
Order Re: Show Cause Hearing
DOC. NO.: X06-UWY-CV-XX-XXXXXXX-S                     SUPERIOR COURT

ERICA LAFFERTY                                        JUDICIAL DISTRICT OF WATERBURY

V.                                                    COMPLEX LITIGATION DOCKET


ALEX EMRIC JONES, ET AL.                              JANUARY 28, 2022


DOC. NO.: X06-UWY-CV-XX-XXXXXXX-S                     SUPERIOR COURT

WILLIAM SHERLACH                                     JUDICIAL DISTRICT OF WATERBURY

v.                                                    COMPLEX LITIGATION DOCKET


ALEX JONES, ET AL.                                   JANUARY 28, 2022


DOC. NO.: X06-UWY-CV-XX-XXXXXXX-S                     SUPERIOR COURT

WILLIAM SHERLACH                                     JUDICIAL DISTRICT OF WATERBURY

V.                                                    COMPLEX LITIGATION DOCKET


ALEX EMRIC JONES, ET AL.                             JANUARY 28, 2022




                            ORDER RE: SHOW CAUSE HEARING



       This matter arises out of an Order to Show Cause issued by the court on October 7, 2021

to address whether Attorney Jay M. Wolman (the respondent) violated certain rules of professional

conduct during a deposition on September 17, 2021. Following a hearing on December 15, 2021,

where the respondent was present and represented by counsel, and having considered the exhibits,

argument, and briefs filed in connection with the hearing, the court finds as follows.



                                                 1
       During the direct examination by plaintiffs' counsel, and prior to the respondent's cross-

examination, the deponent testified as follows. He had been employed by the defendant Free

Speech Systems, LLC (FSS) from 2009 until his sudden termination by the defendant Alex Jones

(Jones) in 2013 or 2014. 1 After the Sandy Hook shooting in 2012, he voiced his concerns about

claims being made by frequent guest Wolfgang Halbig. 2 He was disturbed that Jones and his

writers were not engaged in legitimate journalism with regard to Sandy Hook, and was concerned

with the impact on Sandy Hook family members. He described a stressful, upsetting ending to his

employment at FSS, and testified regarding his Equal Employment Opportunity Commission

(EEOC) complaint alleging antisemitism towards him by Jones and Jones' staff. At the time of

the deposition, he was temporarily residing with family in New York, having been displaced from

his home in New Orleans by Hurricane Ida earlier in the month.

        During the respondent's cross-examination, the deponent explained that he left New Orleans

in haste the day before Hurricane Ida, taking only a few articles of clothing, his car, and his phone.

His phone had cloud storage but no documents responsive to the subpoena that was served on him

by plaintiffs' counsel in connection with the deposition. 3 Shortly into the cross-examination, the

respondent asked the deponent to conduct a search of his phone. The entire line of questioning,

including the colloquy with plaintiffs' counsel, is as follows:

                 "Q . Are you able to search your email through that phone?

                 A I can.

1
  For four years prior to his employment at FSS, he worked directly with Jones, freelancing on video editing
projects.
2
  Halbig is a former defendant in this lawsuit.
3
  The cross-examination revealed that he had searched for physical documents responsive to the subpoena while still
in New Orleans. Due to frequent moves, he no longer possessed most of his documents, including the EEOC letter,
which was lost or misplaced. He had recently replaced his Samsung phone for an iPhone and had changed carriers,
and he did not search his phone for documents responsive to the subpoena, as he had never transferred data from his
old Samsung phone to his new iPhone. The only document on the cloud accessible by his phone related to the
request for production in the subpoena was the subpoena itself.


                                                         2
Q Can you --

(PLAINTIFFS' COUNSEL): I'm going to interject here. I'm going to
interject here. Mr. Jacobson has not been served by you with any sort of
formal process requesting production from him. And I think it would be
improper to ask him to, in the middle of the deposition, search his phone for
documents where you have not yet asked him for, formally, for any sort of
production.

(RESPONDENT): Your objection is noted.

BY (RESPONDENT):

Q Would you, Mr. Jacobson, since you have brought your phone to the
deposition, kindly search your email or the phrase "Sandy Hook"?

A Arn I legally required to do that?

Q You're here. And you're subpoenaed here, and you brought your
documents, your entire email account, to the deposition.

(PLAINTIFFS' COUNSEL): Yeah. First of all, that is highly improper for
you to answer that question in that way, Mr. Wolman. You know that this
witness is under no legal obligation to search his phone at your request.
You know that. And --

(RESPONDENT): No, I don't know that. Do you have a case to cite?

(PLAINTIFFS' COUNSEL): The ethical response to that question, if
you're going to answer it at all, is to instruct him accurately, that he is not
legally required to search his phone at your request.

(RESPONDENT): I disagree. And I don't need any instructions from you
about ethics of all people.

(PLAINTIFFS' COUNSEL): You do. And maybe you should consult with
Mr. Randazza.

(RESPONDENT): Thank you.

BY (RESPONDENT):

Q Are you refusing my request, Mr. Jacobson?




                                  3
                A I don't have it -- I don't have my own independent legal counsel here to
                advise me. So --

                Q Did you have an opportunity to bring a lawyer?

                A I have no money for a lawyer, so no.

                Q Did you ask any lawyer to come with you?

                A I wasn't advised either which way.

                Q Did anybody tell you you couldn't bring a lawyer?

                A Nobody told me one way or the other.

                Q Would you like an opportunity to consult with a lawyer?

                A If that's my option, yes.

                Q All right. How much time do you need today to consult with a lawyer
                as to whether or not you have an obligation to search your phone, which
                you brought with you today?

                (PLAINTIFFS' COUNSEL): You know, Attorney Wolman, that he has no
                obligation at your request to search his phone.

                (RESPONDENT): I don't know that --

                (PLAINTIFFS ' COUNSEL): That obligation would only arise if you
                served him with a formal request under the rules of Connecticut. So I think
                for you to continue to suggest to this witness that he might have a legal
                obligation at this moment to search his phone in response to a request from
                you is unethical. And what I would like to do now is get Judge Bellis on
                the phone right now, so that she can weigh in on your conduct.

                (RESPONDENT): Please."

       After the court was contacted by plaintiffs' counsel, the respondent continued to pursue the

line of questioning, as follows :

               "(PLAINTIFFS' COUNSEL): I sent a request to Mr. Ferrara (phonetic),
               Judge Bellis's clerk. I've copied you, Attorney Wolman. If you'd like, you
               can continue with a different line of questioning, or we can wait until Judge
               Bellis responds.



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(RESPONDENT): Mr. Jacobson, are you refusing my request?

THE DEPONENT: I'm -- again, I don't have legal counsel to advise me how
to answer that question.

(RESPONDENT): I understand.

(PLAINTIFFS' COUNSEL): He's already indicated that ifhe has an option
to consult counsel, he would like it. You gave him that option.

(RESPONDENT): And he has not called counsel.

BY (RESPONDENT):

Q Would you like to call a lawyer right now? Mr. Jacobson, are you going
to call a lawyer right now?

(PLAINTIFFS' COUNSEL): Mr. Jacobson, let me inform you that Judge
Bellis has been contacted. She is the presiding judge in this matter. This
issue will be presented to her. If you'd prefer to wait to decide whether you
think counsel is necessary for Judge Bellis to address this issue, you're
welcome to wait.

THE DEPONENT: I'll wait for the judge.

(RESPONDENT): Chris, why are you interrupting my deposition? I did
not interrupt yours. This is my questioning --

(PLAINTIFFS' COUNSEL): The reason I'm interrupting you, Jay, is
because I believe you're engaged in unethical conduct towards this witness
and it needs to stop. And since you're unwilling to stop it on your own,
we're going to get Judge Bellis on the phone. That's why I've interrupted
your questioning.

(RESPONDENT): It is a given in every deposition, when a witness brings
documents to that deposition that all parties present at the deposition get to
inspect the documents brought. He has brought his phone; it contains
documents. ·1 am asking-

(PLAINTIFFS' COUNSEL): It does not. It does not. He has -- he has not
brought documents. He has brought his phone. What you have done is ask
him to search his phone. And then when he asked you whether he was
legally required to do that, you suggested that he was.




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(RESPONDENT): Yes. And he's permitted to go get himself a contrary
opinion. He has not done so. You are not his lawyer. You have no place
advising him.

(PLAINTIFFS' COUNSEL): I am not his lawyer. But it is my obligation
to protect somebody who's unrepresented for the unethical conduct of
another attorney.

(RESPONDENT): Once more, my conduct is purely within bounds. He
had a full and fair opportunity to seek counsel. No, I did not request
documents from the witness, not knowing he was not going to abide his
obligation to comply with your subpoena in the first instance.

(PLAINTIFFS' COUNSEL): You have no reason to think he hasn't
complied. But why don't you ask questions related to this case or not. But


(RESPONDENT): I am asking questions related to this case.

(PLAINTIFFS' COUNSEL): -- I think it's clear now -- I think it's clear
now that a request has been made of Judge Bellis to review this issue and to
review your conduct. And Mr. Jacobson has indicated that he is not going
to make a determination as to whether to seek counsel until Judge Bellis has
weighed in. Do you want to persist --

(RESPOND ENT): I am making a record. Are you refusing to produce
documents pursuant to the search I have requested?

(PLAINTIFFS' COUNSEL): I object. This is crazy.

THE DEPONENT: I'm going to wait for the judge.

BY (RESPONDENT):

Q Is that a no, Mr. Jacobson?

A That's me waiting for the judge.

Q Are you refusing to produce it right now?

A I'm neither refusing or not refusing. I'm waiting to hear what the judge
has to say.

Q And what are you doing to seek judicial intervention at this time?




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                (PLAINTIFFS' COUNSEL): A request has been made. You're on the
                email. What are you doing?

                BY (RESPONDENT):

                Q Are you seeking judicial intervention, Mr. Jacobson?

                A I don't understand the question.

                Q Do you have a lawyer you can call?

                A Not at this time."

       The cross-examination continued. The deponent testified that he felt threatened while

working at FSS, that loaded guns with laser scopes were left on the desks of employees, that he

was physically charged at by Jones, that he was referred to as "the Jewish individual," having

been named that by David Duke, former grand wizard of the Ku Klux Klan, while Duke was a

guest on the show, and that a picture of his face was photoshopped onto a rabbi approaching the

Wailing Wall.

       At one point, the deponent indicated that the respondent's questions were making him

nervous and that he felt verbally assaulted. Shortly thereafter, the cross-examination was

suspended for the status conference with the court, which was conducted on the record. The

issue presented to the court was whether the deponent was required to search his personal phone

for documents responsive to the request for production in the subpoena, where no request for

production or inspection of the phone itself had been served on the deponent. The court was

advised that the deponent was unrepresented, had not produced any documents, had inquired at

the deposition as to whether he was legally required to search his phone for documents during

the deposition, and wanted the court to address the issue before he decided whether to seek

counsel. The respondent and plaintiffs' counsel agreed that the deponent had not searched his

phone for responsive documents before the deposition, but disagreed as to whether he testified


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with certainty that he did not do so because he knew there would be no responsive documents on

his phone. The respondent took the position that the deponent opened the phone up for

inspection by bringing it to the deposition. The respondent represented to the court that he

continued to ask the deponent to search his phone because the deponent himself neither took

steps to seek judicial intervention nor sought independent legal counsel during the deposition.

         The court noted that no request for production or inspection of the phone was served on

the deponent, and indicated that the respondent could engage in motion practice if his position was

that the deponent did not comply with the subpoena. The court emphasized the extraordinary

nature of the request, stating that it was unusual, not normal, and not appropriate for a witness to

search his phone for documents during a deposition "unless (the witness) decided on the spot that

he wanted to search his phone." A subsequent review of the deposition transcript, which of course

did not exist at the time of the status conference, makes clear that the deponent was in fact

unwilling to do so unless required by law. 4

          The cross-examination resumed following the conclusion of the status conference. The

respondent continued to ask the deponent to search his phone. The questioning, again including

colloquy with plaintiffs' counsel, is as follows:

                  "BY (RESPONDENT):

                  Q Mr. Jacobson, did you speak with anybody during this break?

                  A No, sir.

                  Q Did you look at any documents during this break?

                  A No, I didn't.

                  Q All right. Judge Bellis has said that certainly we can engage in motion
                  practice regarding whether or not you sufficiently searched for responsive

4
 At the time of the status conference, the court had no knowledge of the nature of the respondent's cross-
examination, or it would have immediately acted.

                                                          8
documents prior to the deposition and that she is not going to force you here
to search your phone. But she also did not say you could not do so if you
had so desired. Are you willing to do so?

(PLAINTIFFS' COUNSEL): She said that it would be inappropriate to ask
a witness to do that during a deposition, Attorney Wolman. She said that.

(RESPONDENT): No, but she did not -- no. She said she wasn't going to
force the witness to --

(PLAINTIFFS' COUNSEL): That is not true.

(RESPONDENT): She left it up to him to make his own decisions --

(PLAINTIFFS' COUNSEL): She said it is inappropriate to ask a witness
to do that --

(RESPONDENT): He has the option-- he has the option to do so. I cannot
compel him to do so. He has the option to do so --

(PLAINTIFFS' COUNSEL): I can't believe                   you   continue    to
mischaracterize Judge Bellis's ruling on the record --

(RESPONDENT): I'm not mischaracterizing a single thing. She left open
the possibility that he would do so voluntarily. So I'm asking to see if he
would do so voluntarily. Ifhe says no, that's it. If he says yes, great.

THE DEPONENT: I didn't bring a briefcase -- I didn't bring a briefcase of
documents. I brought a phone that provided me service that showed me
instructions on how to get to this office. I wasn't aware that I was bringing
a pile of papers with me. And that's it. I mean, if you're going to say that I
deliberately brought a pile of papers with me, which I also find to be,
I mean, deceptive, it's -- I just can't -- I mean, I understand nobody here is
representing ine. But out of my own brain, I find -- you should be
embarrassed for yourself, man. Like, honestly, it's a telephone that I used
as a map. I did not come in with a big thing of papers with me and you
know that.

(RESPONDENT): Move to strike as nonresponsive.

BY (RESPONDENT):

Q The question is: Are you willing to search? If the answer is no, okay.
If the answer is yes, okay.

A No.


                                  9
                  (RESPONDENT): Thank you.

                  (PLAINTIFFS' COUNSEL): And let me just say, now that Mr. Jacobson
                  has answered no --

                  (RESPONDENT): No, we don't need to --

                  (PLAINTIFFS' COUNSEL): -- that I think your conduct --

                  (RESPONDENT): -- Chris, speechifying is unnecessary here --

                  (PLAINTIFFS' COUNSEL): I'm going to make my record here. Because


                  (RESPONDENT): You know what, there is no record --

                  (PLAINTIFFS' COUNSEL): -- this is going to be presented to Judge Bellis


                  (RESPONDENT): -- this is a deposition --

                  THE COURT REPORTER: I'm sorry, Counsel. I can't -- I cannot hear both
                  of you at the same time.

                  (PLAINTIFFS' COUNSEL): I'll wait to make my comments. Go ahead.
                  I'll wait.

                  (RESPONDENT): This is not speechifying time.

                  (PLAINTIFFS' COUNSEL): I'll wait, go ahead.

                  (RESPONDENT): The judge doesn't need any of that.                        You can brief
                  whatever you want.

                  (PLAINTIFFS' COUNSEL): Oh, no, no, no. I'm making a record--

                  (RESPONDENT): Your grandstanding here is not going to get anything to
                  happen here.

                  (PLAINTIFFS' COUNSEL): Ask your next question.

                  (RESPONDENT): I will. Thank you." 5

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  The court recognizes that there is a fair likelihood that the respondent, who asked the deponent ifhe was "willing"
to search his phone after the status conference, misunderstood the court's directive. Therefore, the court finds no


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         During the continued cross-e:,rnmination, the deponent also testified that Jones called him

"beefcake" for years, that Jones and Jones' friend spread gay pornography on the deponent' s

computer screen, that Jones physically threw and broke equipment in the office, that he was upset

and intimidated by Jones, and that Jones was a bully who threatened and abused people. At one

point, the respondent, on the record and in the presence of the deponent, described a portion of his

questioning as "designed to elicit (the deponent's) bias, his paranoia, his nontruths ... "

         Depositions are routinely used by litigants in civil cases to uncover facts and evidence.

Unlike trial testimony, deposition testimony, with rare exception, is conducted outside of the

courthouse, without the presence of a judge. Nonetheless, counsel do not abandon their

professional and ethical responsibilities at the door of a deposition. Depositions proceed under the

authority of the rules of the court, and counsel remain officers of the court, accountable to the court

at all times. When a deponent objects to or declines to answer a question or refuses the request of

counsel to take certain action without consulting with an attorney, the record is made and there is

no justification for counsel to continue to repeatedly ask the same question or request of the

deponent. This is not complicated.

         Just as counsel remain officers of the court, the court has responsibilities as well. Here, the

court's obligations are twofold. As always, the court is tasked with the responsibility of overseeing

attorney conduct. Additionally, the court has the obligation to supervise the discovery process so

as to ensure the integrity of our adversarial system of justice. While Connecticut law recognizes

the fundamental importance of full and fair discovery in civil cases, such discovery must be

conducted in good faith. That is, while our adversarial system is based on the marshaling of

evidence in a competitive manner, improper tactics such as harassing or intimidating witnesses,


misconduct with respect to this renewed request. The focus of the misconduct is on the respondent's actions prior to
the status conference with the court.

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obstructing discovery, and the like, are prohibited. As stated in the Preamble to the Rules of

Professional Conduct, "(a) lawyer should use the law's procedures only for legitimate purposes

and not to harass or intimidate others." Deposition misconduct is a matter of considerable concern

to the court. "Indeed, for matters relating to courtroom conduct, judges have primary jurisdiction

over lawyers who do not meet their obligations as officers of the court". Corona v Day Kimball

Healthcare, Superior Court, Judicial District of Hartford, Complex Litigation Docket, 2018 WL

4955691 (Sept. 20, 2018, Moukawsher, J.)(suspending defense counsel following a show cause

hearing for disruptive deposition conduct). See also Picard v. Guilford House, LLC, 178 Conn.

App. 134(2017)( trial court properly sanctioned counsel for inappropriate conduct at the deposition

of a non-party witness; sanctions were not barred by the fact that counsel had been reprimanded

as a result of a grievance filed by opposing counsel based on the same misconduct); Medina v.

Statewide Grievance Committee, Superior Court, Judicial District of Hartford at Hartford, 2017

WL 6803094 (December 1,2017, Robaina, J.)( denying appeal from sanction ofreprimand arising

out of the service of deposition notices). "(I)t is the lawyers who set the tone. It is they who can

continue to keep the profession an honorable and essentially honest one, or who can subject their

opponents, their own clients, and ultimately themselves to a series of ill-mannered and costly

exchanges ... A part of the duty of professionalism is the obligation to prepare one's case properly

and to hesitate to undertake action in a case until one is sure that the action is permitted or

warranted. Cejas v. Allstate, Superior Court, Judicial District of New Haven at New Haven, 2004

WL 2592929 (Oct.12,2004, Pittman,J.)(declining to enter sanctions against the defendant for

defense counsel's conduct in connection with scheduling a non-party deposition).

       Here, the respondent made the extraordinary request to an unrepresented witness to

physically conduct, during the deposition, a search of his personal phone. Plaintiffs' counsel



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immediately objected, the deponent responded by asking the respondent whether he was legally

obligated to do so, and the respondent answered. The issue here is not whether the deponent was

legally obligated to conduct a search of his phone where the subpoena did not include such a

request or inspection (he was not obligated to do so). Rather, the court's focus is the respondent's

answer to the deponent's inquiry, and the respondent's subsequent questioning and conduct prior

to the status conference.

                       Rule 4.3. Dealing With Unrepresented Person

       Rule 4.3 provides as follows: "In dealing on behalf of a client with a person who is not

represented by counsel, in w~ole or in part, a lawyer shall not state or imply that the lawyer is

disinterested. When the lawyer knows or reasonably should know that the unrepresented person

misunderstands the lawyer's role in the matter the lawyer shall make reasonable efforts to correct

the misunderstanding. The lawyer shall not give legal advice to an unrepresented person, other

than the advice to secure counsel, if the lawyer knows or reasonably should know that the interests

of such a person are or have a reasonable possibility of being in conflict with the interests of the

client." The official commentary explains that "(a)n unrepresented person, particularly one not

experienced in dealing with legal matters, might assume that a lawyer is disinterested in loyalties

or is a disinterested authority on the law even when the lawyer represents a client". The

commentary distinguishes situations involving unrepresented persons whose interests may be

adverse to those of the lawyer's client and recognizes that because the possibility that the lawyer

will compromise the unrepresented person's interests is so great, the giving of any advice, apart

from the advice to obtain counsel, is prohibited. The commentary further notes that "(w)hether a

lawyer is giving impermissible advice may depend on the experience and sophistication of the

unrepresented person, as well as the setting in which the behavior and comments occur". Thus, the



                                                13
rules require an attorney to distinguish individuals who are represented by counsel from those who

are unrepresented, to identify when an unrepresented person has interests opposed to that of their

client, and to conduct themselves accordingly.

         The respondent clearly took the position on the record at the deposition that his

request that the deponent search his phone was an appropriate request. The respondent

answered the deponent's question of whether he was legally required to search his phone,

and provided justification by answering "You're here. And you're subpoenaed here, and

you brought your documents, your entire email account, to the deposition." This answer

was intended to persuade the deponent that the deponent was legally obligated to comply.

The court rejects the respondent's argument that his answer was a non-answer, meant

nothing, was evasive, was not legal advice, and did not answer the question. 6 The ethical

response to the deponent' s inquiry was an easy one. The respondent should have clearly

and unambiguously told the deponent that he could not give him legal advice. 7 The court

finds by clear and convincing evidence that the respondent violated Rule 4.3 by improperly

giving legal advice to an unrepresented person, knowing that such person's interest

conflicted with that of his client.

                           Rule 3.5. Impartiality and Decorum of the Tribunal

         Rule 3.5(4) provides that a lawyer shall not "engage in conduct intende~ to disrupt a

tribunal or ancillary proceedings such as depositions and mediations". The officially commentary

explains that "(t)he advocate's function is to present evidence and argument so that the cause may



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  Later, the respondent noted that the deponent was permitted to obtain a "contrary" opinion, and the deponent
himself indicated that he still wanted to obtain the advice of his own independent legal counsel. Although plaintiffs'
counsel also stated his position on the issue on the record, the court finds that these statements by both the deponent
and the respondent, taken in context, supports the conclusion that legal advice was given by the respondent.
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  Alternatively, the respondent could have simply told the deponent that the court would decide the issue, or the
respondent could have even ignored the question and moved on to a different line of questioning.

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be decided according to law. Refraining from abusive or obstreperous conduct is a corollary of the

advocate's right to speak on behalf of litigants".

       In the present case, the respondent's conduct prior to the status conference exceeded the

permissible parameters of legitimate advocacy and violated Rule 3.5(4). The respondent

persisted in pressuring the deponent to search his phone; his questions and comments on the record

evidence his efforts to coerce the deportent into believing that he was obligated to comply, as he

did not call an attorney or contact the court on his own during the deposition. The respondent

interrogated the deponent as to why he did not bring an attorney with him to the deposition, and,

significantly, about how much time the deponent needed "today" to consult with an attorney.

Immediately after the court was notified, the respondent continued with his requests that the

deponent search his phone. He repeatedly, and unreasonably, asked the deponent whether he was

going to call a lawyer "right now" and stated on the record that the deponent had had a "full and

fair opportunity to seek counsel." This is unacceptable and unfair. It strains credulity to believe

that an ordinary, non-party witness, let alone this particular witness who at this point in the

deposition had already testified to unusual personal circumstances, had the means or ability to

reach an attorney in the middle of a deposition. Over and over again, before the court could

intervene, and despite the deponent's clear indications that he wanted to consult an attorney and

wait for the court, the respondent barraged the witness by asking him whether he was refusing to

comply with his requests to search the phone. Incredibly, the respondent asked this deponent-a

layperson-what he himself was doing to seek judicial intervention. Clearly, the only purpose to

this line of questioning was to mislead and intimidate the deponent. The court had already been

notified by counsel of a deposition dispute-this was not the first time that counsel had sought

court intervention mid deposition-and there was no legitimate reason for the respondent to



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suggest that the deponent attempt to do so as well. Moreover, it is absurd to even suggest that any

deponent, let alone this unrepresented non-party witness from out of state, has the ability to contact

the appropriate judge in the middle of a deposition.

          The court rejects the respondent's argument that he was making a record with this line of

questioning. The record had already been made. The record was clear at the onset of the cross-

examination: the deponent was unwilling to comply with the respondent's request, wanted to

consult with an attorney, and was awaiting the court's response. The court also rejects the

respondent's argument that the deponent was stoic and held his ground despite the questions put

to him. The record is clear and the court finds that the defendant felt verbally assaulted by the

respondent's questions early on in the cross-examination. Harassing or intimidating a witness is

indefensible regardless of the outward effect on the witness. 8 The court finds by clear and

convincing evidence that the respondent's repeated questioning regarding his requests to search

the cell phone, contacting the court, and contacting an attorney, were not intended to create or

perfect the record, but rather was designed with the goal of harassing and pressuring the deponent

into searching his phone despite the deponent' s stated unwillingness to do so absent court

intervention or advice from counsel, so as to deprive the deponent of a reasonable opportunity to

consult with an attorney and have the court intervene.

         The court is not confronted with an innocent mistake or an excusable misstep but rather

intentional bad behavior which gives rise to ethical violations. The court finds, by clear and

convincing evidence, that the respondent violated Rule 3.5(4), by purposefully engaging in

conduct intended to disrupt the deposition proceedings by harassing, barraging, and pressuring the



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  In fact, and extraordinarily, while not a basis for the court's finding of misconduct, the respondent subsequently
stated on the record, in the presence of the deponent, that he was cross-examining the respondent regarding his bias,
paranoia, and non-truths--certainly not something normally said in the presence of a deponent during a deposition.

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unrepresented deponent with repetitive and unfair questioning, and by attempting to mislead the

deponent into believing that he had to comply with his request unless the deponent himself

immediately sought judicial intervention or contacted an attorney.

       An attorney "as an officer of the court in the administration of justice, is continually

accountable to it for the manner in which he exercises the privilege which has been accorded him.

His admission is upon the implied condition that his continued enjoyment of the right conferred is

dependent upon his remaining a fit and safe person to exercise it, so that when he, by misconduct

in any capacity, discloses that he has become or is an unfit or unsafe person to be entrusted with

the responsibilities and obligations of an attorney, his right to continue in the enjoyment of his

professional privilege may and ought to be declared forfeited." In re Peck, 88 Conn. 447, 450. 91

A.2d 274 (1914). An attorney must conduct himself or herself in a manner that comports with the

proper functioning of the judicial system." (Internal quotation marks omitted.) NoLopouios v.

Statewide Grievance Committee, 277 Conn. 218, 232, 890 A.2d 509, cert. denied, 549 U.S. 823,

127 S.Ct. 157, 166 L.Ed.2d 39 (2006).

       "If a court disciplines an attorney, it does so not to mete out punishment to an offender, but

[so] that the administration of justice may be safeguarded and the courts and the public protected

from the misconduct or unfitness of those who are licensed to perform the important functions of

the legal profession." (Internal quotation marks omitted.)      taLewide Grievance      'ommittee v.

Shluger. 230 Conn. 668, 674-75 (1994).

       Connecticut courts have utilized the American Bar Association's Standards for Imposing

Lawyer Sanctions as a guide for assessing appropriate discipline, and the Connecticut Supreme

Court has approved this approach. Burton v. Mottolese, supra, 267 Conn. 55. The standards

provide that the court, after a finding of misconduct, should consider "(I) the nature of the duty



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violated; (2) the attorney's mental state; (3) the potential or actual injury stemming from the

attorney's misconduct; and (4) the existence of aggravating or mitigating factors." A.B.A.,

Standards for Imposing Lawyer Sanctions (1986) Standard 3.0; Listed as aggravating factors are

"(a) prior disciplinary offenses; (b) dishonest or selfish motive; (c) a pattern of misconduct; (d)

multiple offenses; (e) bad faith obstruction of the disciplinary proceeding by intentionally failing

to comply with rules or orders of the disciplinary agency; (f) submission of false evidence, false

statements, or other deceptive practices during the disciplinary process; (g) refusal to acknowledge

wrongful nature of conduct; (h) vulnerability of victim; (i) substantial experience in the practice

of law; G) indifference to making restitution and (k) illegal conduct, including the involving the

use of controlled substances." A.B.A., Standards for Imposing Lawyer Sanctions (1986) Standard

9.22.

        Listed as mitigating factors are "(a) absence of a prior disciplinary record; (b) absence of a

dishonest or selfish motive; (c) personal or emotional problems; (d) timely good faith effort to

make restitution or to rectify consequences of misconduct; (e) full and free disclosure to

disciplinary board or cooperative attitude toward proceedings; (f) inexperience in the practice of

law; (g) character or reputation; (h) physical disability; (i) mental disability or chemical

dependency including alcoholism or drug abuse when: (1) there is medical evidence that the

respondent is affected by a chemical dependency or mental disability; (2) the chemical dependency

or mental disability caused the misconduct; (3) the respondent's recovery from the chemical

dependency or mental disability is demonstrated by a meaningful and sustained period of

successful rehabilitation; and (4) the recovery arrested the misconduct and recurrence of that

misconduct is unlikely;   G) delay in disciplinary proceedings; (k) imposition of other penalties or




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sanctions; (1) remorse; [and] (m) remoteness of prior offenses." A.B.A., Standards for Imposing

Lawyer Sanctions (1986) Standard 9.32.

        Having previously found misconduct on the part of the respondent, and after articulating

the basis today, the court the court now assesses the appropriate discipline. The duties implicated,

to the public and to the legal system, are important ones. The court agrees with Disciplinary

Counsel in that the oppressive questioning, and intimidating conduct subverts proper legal

procedures, has a chilling effect on the participation of witnesses, and is antithetical to the proper

administration of justice. With respect to the respondent's mental state, the court has found that

the respondent acted knowingly and intentionally. With respect to actual or potential injury, the

court has no doubt that the deponent was mistreated and that this deposition conduct has a potential

chilling effect on other witnesses in this case, such that there is both actual and potential injury

here.

        Turning to mitigating factors, the respondent has a clean disciplinary record not only since

his Connecticut admission in 2012, but from his first admission to other jurisdictions in 2001. The

court places gr~at consideration on the fact that the respondent has been in practice for over twenty

years and has no disciplinary history. The court has also taken into consideration the respondent's

cooperation through this process, and that he has expressed some remorse by virtue of his affidavit

filed in connection with his brief, indicating that his language might appear aggressive and

apologizing for any discomfort or pressure the deponent might have felt. The court has not credited

as a mitigating factor the respondent's good reputation or character (but neither has the court

considered as an aggravating factor any pattern of misconduct): On May 6, 2021, the court, having

already referred prior defense counsel to the disciplinary authorities, and concerned about

obstructive and dilatory practices as well as candor towards the court on the part of the defense



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including the respondent, instructed all counsel in the case to review the relevant sections of the

Rules of Professional Conduct. Then, on May 29, 2021, the court warned the respondent to refrain

from invoking the Rules in civil filings in this lawsuit, as it is entirely inappropriate to use the

Rules as a weapon in a civil lawsuit. The court warned the respondent that any further such usage

of the Rules would result in immediate action by the court pursuant to Practice Book Section 2-

45. Thereafter, on June 26, 2021, the court warned the respondent to refrain from inappropriate

commentary and ad hominem criticism of the court in his filings, based on his recent court filings.

While these were all very rare steps for the court to take, the court was shortly thereafter confronted

with the respondent's conduct at the September 17, 2021 deposition. 9

         With respect to aggravating factors, the court has taken into consideration the deponent' s

vulnerability. Which the court has addressed through this decision. Additionally, the court has also

considered that the deponent has not fully expressed remorse for his actions giving rise to the

misconduct, despite a partial apology for how the deponent might have felt or how his conduct

might have been perceived.

         The respondent's intentional conduct during his cross examination of the deponent prior to

the status conference exceeded the bounds of acceptable attorney behavior and was solely

attributable to the respondent. This conduct violated the respondent's professional obligations

under rules 3 .5(4) and 4.1, harmed the integrity of the process, and left unchecked, would have a

chilling effect on future deposition or trial testimony. Attorneys cannot intimidate or bully

witnesses, even hostile witnesses, in any case, let alone in a hotly contested and contentious case


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 In addition to these unusual warnings from the court, the case itself has a unique history, including threats made by
Jones to plaintiffs' counsel, reported threats made against the court by individuals on the defendant Infowars, LLC.
website, discovery materials produced by the Jones defendants which contained images of child pornography, the
Jones' defendants' violation of the court's confidentiality order with regard to a plaintiffs deposition, and the Jones
defendants' failure to comply with court orders regarding discovery which resulted in a default against them. It is
important, in light of this history, that all witnesses in this case can testify without being threatened or intimidated.


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such as this, regardless of whether or not a witness shows any outward response to the improper

tactics. While there is room for persistent, competitive, and even aggressive lawyering in our

courts, there is simply no room for conduct where witnesses are mistreated and which violate our

rules of professional conduct.

       The court hereby issues a reprimand.

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                                                                BELLIS,J.




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